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                              UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
               v.                                    )   Docket No. 2:18-mj-00113-jmc-1
                                                     )
LATEEF ATKINS,                                       )
     Defendant                                       )

                                   MOTION TO WITHDRAW

       NOW COMES Steven L. Barth, Assistant Federal Public Defender, counsel for defendant

Lateef Atkins, and respectfully requests an order allowing the Office of the Federal Public

Defender to be withdrawn as counsel for Mr. Atkins. This motion is based on the following:

       Since the appointment of this Office to represent Mr. Atkins, defense counsel has become

aware of a conflict of interest that exists with a former client of the Office of the Federal Public

Defender. Based on the nature of this conflict, defense counsel believes that this office is unable

to represent Mr. Atkins. Counsel believes that to proceed further would violate the Vermont

Rules of Professional Conduct, particularly Rule 1.7(a) and (b) with regard to conflict of interest.

       WHEREFORE, counsel respectfully requests for the reasons stated that the Court grant

this motion to withdraw from representing Mr. Lateef Atkins.

Dated at Burlington this 21st day of August, 2018.

                                               By:
                                               /s/ Steven L. Barth
                                               STEVEN L. BARTH
                                               Assistant Federal Public Defender
                                               Office of the Federal Public Defender
                                               126 College Street, Suite 410
                                               Burlington, VT 05401
                                               (802) 862-6990
                                               Counsel for Lateef Atkins
                              UNITED STATES DISTRICT COURT
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                                         FOR THE
                                   DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
              v.                                   )     Docket No. 2:18-mj-00113-jmc-1
                                                   )
LATEEF ATKINS,                                     )
     Defendant                                     )


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of August, 2018, I electronically filed Motion to

Withdraw with the Clerk of Court using the CM/ECF system, which will send notification of

such filing(s) to Assistant United States Attorney, John Boscia. via john.boscia@usdoj.gov


                                             By:       /s/ Marsha V. Curtis
                                                       Marsha V. Curtis
                                                       Paralegal

                                                       Office of the Federal Public Defender
                                                       126 College Street, Suite 410
                                                       Burlington, Vermont 05401
                                                       (802) 862-6990




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